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                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA


PERKINS COIE LLP,

               Plaintiff,
                                                         Civil Action No. 25-716 (BAH)
       v.

U.S. DEPARTMENT OF JUSTICE, et. al.,

               Defendants.


                                     [PROPOSED] ORDER

       Upon consideration of the motion of 504 Law Firms for leave to file an Amici Curiae

brief and such matters as are just and proper, it is hereby

       ORDERED that the aforementioned Motion is GRANTED; and it is further

       ORDERED that the Amici Curiae brief attached as Exhibit 1 to the Motion is deemed

filed with this Court upon entry of this Order.

       Entered this _____ day of _____, 2025

                                                              __________________________
                                                              Honorable Beryl A. Howell
                                                              United States District Judge
